DOCUMENTS UNDER SEAL
                      Case 3:22-cr-00426-JSC Document 8 Filed 11/15/22 Page 1 of
                                                            TOTAL TIME (m ins): 6M
                                                                                  1
M AGISTRATE JUDGE                       DEPUTY CLERK                              REPORTER/FTR
M INUTE ORDER                           Stephen Ybarra                         Liberty Recording: 10:32-10:38
MAGISTRATE JUDGE                        DATE                                      NEW CASE       CASE NUMBER
Alex Tse                                November 15, 2022                                       22-cr-00426-JSC-1
                                                    APPEARANCES
DEFENDANT                                AGE      CUST  P/NP   ATTORNEY FOR DEFENDANT                    PD.     RET.
David Wayne Depape                                Y       P       Angela Chuang                          APPT.
U.S. ATTORNEY                            INTERPRETER                          FIN. AFFT             COUNSEL APPT'D
Laura Vartain                           n/a                                   SUBMITTED

PROBATION OFFICER          PRETRIAL SERVICES OFFICER              DEF ELIGIBLE FOR            PARTIAL PAYMENT
                           Tim Elder                              APPT'D COUNSEL              OF CJA FEES
                                      PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR            PRELIM HRG       MOTION           JUGM'T & SENTG                          STATUS
                                                                                                           TRIAL SET
       I.D. COUNSEL              ARRAIGNMENT             BOND HEARING          IA REV PROB. or             OTHER
                                                                               or S/R
       DETENTION HRG             ID / REMOV HRG          CHANGE PLEA           PROB. REVOC.                ATTY APPT
                                                                                                           HEARING
                                                   INITIAL APPEARANCE
        ADVISED                ADVISED                 NAME AS CHARGED             TRUE NAME:
        OF RIGHTS              OF CHARGES              IS TRUE NAME
                                                      ARRAIGNM ENT
       ARRAIGNED ON               ARRAIGNED ON            READING W AIVED             W AIVER OF INDICTMENT FILED
       INFORMATION                INDICTMENT              SUBSTANCE
                                                       RELEASE
      RELEASED           ISSUED                    AMT OF SECURITY       SPECIAL NOTES              PASSPORT
      ON O/R             APPEARANCE BOND           $                                                SURRENDERED
                                                                                                    DATE:
PROPERTY TO BE POSTED                         CORPORATE SECURITY                    REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                DETAINED        RELEASED      DETENTION HEARING               REMANDED
      FOR             SERVICES                                              AND FORMAL FINDINGS             TO CUSTODY
      DETENTION       REPORT                                                W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                          PLEA
   CONSENT                    NOT GUILTY                 GUILTY                   GUILTY TO COUNTS:
   ENTERED
   PRESENTENCE                CHANGE OF PLEA             PLEA AGREEMENT           OTHER:
   REPORT ORDERED                                        FILED
                                                      CONTINUANCE
TO:                              ATTY APPT               BOND                 STATUS RE:
November 30, 2022                HEARING                 HEARING              CONSENT                    TRIAL SET

AT:                              SUBMIT FINAN.           PRELIMINARY          CHANGE OF                  STATUS
                                 AFFIDAVIT               HEARING              PLEA
9:00 AM                                                  _____________
BEFORE HON.                      DETENTION               ARRAIGNMENT           MOTIONS                   JUDGMENT &
                                 HEARING                                                                 SENTENCING
JSC
       TIME W AIVED              TIME EXCLUDABLE         IDENTITY /           PRETRIAL                   PROB/SUP REV.
                                 UNDER 18 § USC          REMOVAL              CONFERENCE                 HEARING
                                 3161                    HEARING
                                               ADDITIONAL PROCEEDINGS
DPPA advised. Defendant shall remain in state custody. The Court excludes time until November 30, 2022


cc: JSC                                                                             DOCUMENT NUMBER:
